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                                          THE




        STATUTES OF OKLAHOMA
                                           1390.



        Compiled under the supervision and direction of Robert Martin,
                             Secretary of the Territory,


                                         -BY-



           WILL T. LITTLE, L. G. PITMAN and R. J. BARKER,


                                        -FROM-



              The Laws Passed by the First Legislative.Assembly of t- Territory.




                               GUTHRIE, OKLAHOMA:
                         THE STATE CAPITAL PRINTING Co.,
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                                      1891.




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          (2430) § 6. Every person who, with intent to extort any Chap. 25.
       money or other property frorm another, sends to any person any Sending
       letter or other writing, whether subscribed or not, expressing or threatening let-
       implying, or adapted to imply, any threat, such as is specified in'ten
       the second section of this article, is punishable in the same man-
       ner as if such money or property were actually obtained by mean-
       of such threat.
          (2431) § 7. Every person who unsuccessfully attempts by means Attempting to
       of any verbal threat such as is specified in the second section of export money.
       this article, to extort money or other property from another is
       guilty of a misdemeanor.

                         ARTICLE 47.-CONCEALEI) WEAPONS.

       SECTION.                                 SECTION.
        I. Prohibited weapons enumerated.        6. Degree of punishment.
        2. Same.                                 7. Public buildings and gatherings.
        3. Minors.                               8. Intent of persons carrying weapons.
        4. Public officials, when privileged.    9. Pointing weapon at another.
        5. Arms, when lawful to carry.          io. Violation of certain sections.

          (2432) § 1.    It shall be unlawful for any person in the Terri- Prohibited
       tory of Oklahoma to carry concealed on or about his person, sad- wea           enu.

       dle, or saddle bags, any pistol, revolver, bowie knife, dirk, dagger,
       slung-shot, sword cane, spear, metal knuckles, or any other kind
       of knife or instrument manufactured or sold for the purpose of de-
       fense except as in this article provided.
           (2433) § 2. It shall be unlawful for any person in the Terri- Same.
       tory of Oklahoma, to carry upon or about his person any pistol,
       revolver, bowie knife, dirk knife, loaded cane, billy, metal knuckles,
       or any other offensive or defensive weapon, except as in this arti-
       cle provided.
           (2434) § 3. It shall be unlawful for any person within this Minors.
       Territory, to sell or give to any minor any of the arms or weapons
       designated in sections one and two of this article.
           (2435) § 4. Public officers while in the discharge of their wh'ien  Publicofficials,
                                                                                    privleged.
       duties or while going from their homes to their place of duty, or
       returning therefrom, shall be permitted to carry arms, but at no
       other time and under no other circumstances: Provided, however,
       That if any public officer be found carrying such arms while under
       the influence of intoxicating drinks, he shall be deemed guilty of
       a violation of this article as though he were a private person.
           (2436) § 5. Persons shall be permitted to carry shot-guns or Arms, when
       rifles for the purpose of hunting, having them repaired, or for kill- lawulto carry.
       ing animals, or for the purpose of using the same in public muster
       or military drills, or while travelling or removing from one place
       to another, and not otherwise.
           (2437) § 6. Any person violating the provisions of any one of Degree of
                                                                    adjudged ptisuhment.
       the foregoing sections, shall on the first conviction be
       guilty of a misdemeanor and be punished by a fine of not less than
       twenty-five dollars nor more than fifty dollars, or by imprison-
       ment in the county jail not to exceed thirty days or both at the
       discretion of the court. On the second and every subsequent con-
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                                  AND PUNISHMENT.

      Chap. 25.       viction, the party offending shall on conviction be fined' not less
                      than fifty dollars nor more than two huhdred and fifty dollars or
                      be imprisoned in the county jail not less than thirty days nor
                      more than three months or both, at the discretion of the court.
                         (2438) § 7. It shall be unlawful for any person, except a peace
    ings and gather-  officer, to carry into any church or religious assembly, any school
    ings.             room or other place where persons' are assembled for public wor-
                     ship, for amusement, or for educational or scientific purposes, or
                     into any circus, show or public exhibition of any kind, or into any
                     ball room, or to any social party or social gathering, or to any elec-
                     tion, or to any place where intoxicating liquors are sold, or to any
                     political convention, or to any other public assembly, any of the
                     weapons designated in sections one and two of this article.-
                        (2439) § 8. It shall be unlawful for any person in this Terri-
      Intent of per- tory to carry or wear any deadly         weapons or dangerous in-
    wearying strument whatsoever, openly            or secretly,with the intent or for the
                     avowed purpose of injuring his fellow man.
      Pointing          (2440) § 9. It shall be unlawful for any person to point any
    weapons at an- pistol or any other deadly weapon whether loaded or not, at
    other,           any other person or persons either in anger or otherwise.
                        (2441) § 10. Any person violating the provisions of section
      Violation of    seven, eight or nine of this article; shall on conviction, be punish-
                     ed by a fine of not less than fifty dollars, nor more than five hun-
                     dred and shall be imprisoned in the county jail for not less than
                     three not more than twelve months.

                              ARTICLE 48.-FALSE PERSONATION AND CHEATS.

                     SEIC'rloN.                                    SECTION.
                      I. False impersonation, punishment for.       7. False representation of charitable pur-
                      2. False impersonation and receiving                 poses.
                             money.                                 8. Falsely representing banking cor-
                      3. Personating officers and others.                     porations.
                      4. Unlr'iwful wearing of grand army badge.    9.   Using false check.
                      5. Fines, how paid.                          to. Holding mock auction.
                      6.   Obtaining property under false pre -
                              tenses.

      Punishmentselyrepresentingeyantherc
    for falseper.   (2442)     1.    Every person who falsely personates another, and
    sonation.   in such assumed character, either:
                        First. Marries or pretends to marry, or to sustain the mar-
                     riage relation toward another, with or without the connivance of
                     such other person; or,
                        Second. Becomes bail or surety for any party, in any proceed-
                     ing whatever, before any court or officer authorized to take such
                     bail or surety; or,
                        Third. Subscribes, verifies, publishes, acknowledges or proves,
                     in the name of another person, any written instrument, with in-
                     tent that the same may be delivered or used as true; or,
                        Fourth. Does any other act whereby, if it were done by the
                     person falsely personated, he might in any event become liable to
                     any suit or prosecution, or to pay any sum of money, or to incur
                     any charge, forfeiture or penalty, or whereby any benefit might
                     accrue to the party personating, or to any other person.
